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 8                          UNITED STATES DISTRICT COURT

 9                         CENTRAL DISTRICT OF CALIFORNIA

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11   TREMAYNE CARROLL,             )       NO. CV 20-10659-PA(E)
                                   )
12             Petitioner,         )
                                   )
13        v.                       )       ORDER OF DISMISSAL
                                   )
14   WARDEN COVELLO, ET AL.,       )
                                   )
15             Respondents.        )
     ______________________________)
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17

18        On September 16, 2020, Petitioner filed a “Petition for Writ of

19   Habeas Corpus by a Person in State Custody” in the United States

20   District for the Eastern District of California.          On November 23,

21   2020, the Petition was transferred to this Court.

22

23        The Petition challenges Petitioner’s 1999 conviction and sentence

24   in Los Angeles Superior Court (Petition at 2).         Petitioner previously

25   challenged the same conviction and sentence in a habeas petition filed

26   in this Court in 2003.     See Carroll v. State of California, No. CV 03-

27   9002-SJO(VBK) (“the prior habeas petition”).         By Judgment entered

28   February 5, 2008, this Court denied and dismissed the prior habeas
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 1   petition with prejudice.

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 3        The Court must dismiss the present Petition in accordance with

 4   28 U.S.C. section 2244(b) (as amended by the “Antiterrorism and

 5   Effective Death Penalty Act of 1996”).        Section 2244(b) requires that

 6   a petitioner seeking to file a “second or successive” habeas petition

 7   first obtain authorization from the Court of Appeals.           See Burton v.

 8   Stewart, 549 U.S. 147, 157 (2007) (where petitioner did not receive

 9   authorization from Court of Appeals before filing second or successive

10   petition, “the District Court was without jurisdiction to entertain

11   [the petition]”); Barapind v. Reno, 225 F.3d 1100, 1111 (9th Cir.

12   2000) (“the prior-appellate-review mechanism set forth in § 2244(b)

13   requires the permission of the court of appeals before ‘a second or

14   successive habeas application under § 2254’ may be commenced”).              A

15   petition need not be repetitive to be “second or successive,” within

16   the meaning of 28 U.S.C. section 2244(b).        See, e.g., Thompson v.

17   Calderon, 151 F.3d 918, 920-21 (9th Cir.), cert. denied, 524 U.S. 965

18   (1998); Calbert v. Marshall, 2008 WL 649798, at *2-4 (C.D. Cal.

19   Mar. 6, 2008).    Petitioner evidently has not yet obtained

20   authorization from the Ninth Circuit Court of Appeals.1          Consequently,

21   this Court cannot entertain the present Petition.          See Burton v.

22   Stewart, 549 U.S. at 157; see also Remsen v. Att’y Gen. of Calif., 471

23   Fed. App’x 571, 571 (9th Cir. 2012) (if a petitioner fails to obtain

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25        1
               The docket for the United States Court of Appeals for
     the Ninth Circuit, available on the Pacer database on
26   www.pacer.gov, does not reflect that anyone named Tremayne
     Carroll has received authorization to file a second or successive
27   petition. See Mir v. Little Company of Mary Hosp., 844 F.2d 646,
     649 (9th Cir. 1988) (court may take judicial notice of court
28
     records).

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 1   authorization from the Court of Appeals to file a second or successive

 2   petition, “the district court lacks jurisdiction to consider the

 3   petition and should dismiss it.”) (citation omitted).

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 5        For all of the foregoing reasons, the Petition is denied and

 6   dismissed without prejudice.

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 8        LET JUDGMENT BE ENTERED ACCORDINGLY.

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10             DATED: November 24, 2020.

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13                                  ___________________________________
                                               PERCY ANDERSON
14                                      UNITED STATES DISTRICT JUDGE

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17   PRESENTED this 24th day

18   of November, 2020, by:

19

20             /s/
            CHARLES F. EICK
21   UNITED STATES MAGISTRATE JUDGE

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